     Case 1:20-cv-03010-APM           Document 1380-1         Filed 06/03/25       Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,                          Civil Case No. 1:20-cv-03010
                              Plaintiffs,                  Hon. Amit P. Mehta
                    v.
GOOGLE LLC,
                              Defendant.


STATE OF COLORADO, et al.,                                 Civil Case No. 1:20-cv-03715
                              Plaintiffs,                  Hon. Amit P. Mehta
                    v.
GOOGLE LLC,
                              Defendant.


          DECLARATION OF BENJAMIN J. HORWICH IN SUPPORT
    OF MOTION FOR ADMISSION PRO HAC VICE OF BENJAMIN J. HORWICH


       1.      My name is Benjamin J. Horwich. I am a partner with the law firm of Munger,

Tolles & Olson LLP.

       2.      My business address is 560 Mission Street, 27th Floor, San Francisco, CA 94105.

My business telephone number is (415) 512-4000. My business email is ben.horwich@mto.com.

       3.      I am a member of the State Bar of California (Bar Number 249090) and I have

been admitted to practice in the following courts:

       (a) United States District Court for the Northern District of California,

       (b) United States District Court for the Central District of California,

       (c) United States District Court for the Eastern District of California,

       (d) United States District Court for the Southern District of California,


                                                 1
     Case 1:20-cv-03010-APM          Document 1380-1          Filed 06/03/25      Page 2 of 4




       (e) United States Court of Appeals for the First Circuit,

       (f) United States Court of Appeals for the Third Circuit,

       (g) United States Court of Appeals for the Fourth Circuit,

       (h) United States Court of Appeals for the Fifth Circuit,

       (i) United States Court of Appeals for the Ninth Circuit,

       (j) United States Court of Appeals for the D.C. Circuit,

       (k) United States Court of Appeals for the Federal Circuit, and

       (l) United States Supreme Court.

       4.      I am a member in good standing and eligible to practice in each jurisdiction and

court to which I have been admitted. I voluntarily went on “inactive” status in the State of

Pennsylvania shortly after my admission to the California bar in 2007 because I no longer

resided in Pennsylvania and did not have clients in Pennsylvania; for similar reasons, I resigned

my membership in the Pennsylvania Bar in 2022. I have never been disciplined by any bar and I

am not currently the subject of any disciplinary proceedings.

       5.      I have not been admitted pro hac vice to the United States District Court for the

District of Columbia within the last two years.

       6.      I do not engage in the practice of law from an office located in the District of

Columbia. I am not a member of the District of Columbia Bar and do not have an application for

such admission pending.

       I declare under penalty of perjury under the law of the United States of America that the

foregoing is true and correct. Executed on June 3, 2025.




                                                      Benjamin J. Horwich
                                                      MUNGER, TOLLES & OLSON LLP
                                                      560 Mission Street, 27th Floor

                                                  2
Case 1:20-cv-03010-APM   Document 1380-1      Filed 06/03/25   Page 3 of 4




                                     San Francisco, CA 94105
                                     (415) 512-4000
                                     ben.horwich@mto.com




                                 3
Case 1:20-cv-03010-APM   Document 1380-1   Filed 06/03/25   Page 4 of 4
